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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
ADELAIDO GALEANA and NICOLAS                              :
GALEANA, individually and on behalf of                    :
others similarly situated,                                :
                                                          :
                              Plaintiffs,                 :
                                                          :                  ORDER
          -against-                                       :
                                                          :            14-CV-3625 (VSB)(KNF)
MAHASAN INC. (d/b/a ENTHAICE) and                         :
JUNTIMA NETPRACHAK,                                       :
                                                          :
                              Defendants.                 :
----------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         This case has been referred to the undersigned for an inquest in order to determine the amount of

damages, if any, that should be awarded to the plaintiffs against defendant Mahasan Inc.

         Accordingly, IT IS HEREBY ORDERED that, on or before July 28, 2021, the plaintiffs shall

prepare and file, with the Court: (1) proposed findings of fact and conclusions of law; and (2) an inquest

memorandum of law, accompanied by supporting affidavits and exhibits, setting forth proof of their

damages. The plaintiffs must serve these documents and a copy of this order on Mahasan Inc., and file

proof of such service with the Clerk of Court.

         IT IS FURTHER ORDERED that, on or before August 18, 2021, Mahasan Inc. shall prepare and

file any opposing memoranda, affidavits, and exhibits, as well as any alternative findings of fact and

conclusions of law, and serve the same upon the plaintiffs.

Dated: New York, New York                                SO ORDERED:
       July 7, 2021
